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 1   DAVID A. TORRES AND ASSOCIATES
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     Bakersfield, CA 93301
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 4   Email: dtorres@lawtorres.com
 5   Attorney for:
     CORAL HERRERA
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT of CALIFORNIA
 8

 9                                                       ) Case No.: 1:16-CR-00106 LJO-SKO
     UNITED STATES OF AMERICA,                           )
10                                                       ) STIPULATION AND ORDER TO
                     Plaintiff,                          ) MODIFY CONDITIONS OF RELEASE
11                                                       )
           vs.                                           )
12   CORAL HERRERA                                       )
     SAIR EDUARDO MALDANADO,                             )
13                                                       )
                     Defendant                           )
14
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE DALE A.
15
     DROZD AND KIRK SHERRIFF, ASSISTANT UNITED STATES ATTORNEY:
16
            IT IS HEREBY STIPULATED between AUSA Karen Escobar and defense counsel,
17
     David A. Torres and John Garland, that conditions of release 7(e) be vacated forthwith.
18
     Hereinafter, defendants Sair Eduardo Maldonado and Coral Herrera will be allowed to reside
19
     together, along with their newborn child, at the residence of Kiara Herrera, Coral Herrera’s sister
20
     who resides at 660 N. Perris Blvd., Perris, CA during the pendency of these proceedings. Kiara
21
     Herrera is the third party custodian for Coral Herrera.
22
            Counsel has spoken to U.S Pretrial Service Officer, Dan Stark, he has no objection to this
23
     modification.
24
            //
25
            //



                            Stipulation and Proposed Order to Modify Conditions of Release
                                                          1
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 1          IT IS SO STIPULATED.

 2                                                                      Respectfully Submitted,

 3   DATED: 9/22/16                                                     /s/ David A Torres         ___
                                                                        DAVID A. TORRES
 4                                                                      Attorney for Defendant
                                                                        CORAL HERRERA
 5

 6
     DATED: 9/22/16                                                     /s/JOHN GARLAND________
 7                                                                      JOHN GARLAND
                                                                        Attorney for Defendant
 8                                                                      SAIR EDUARDO HERRERA

 9
     DATED: 9/22/16                                                     /s/KAREN ESCOBAR _______
10                                                                      KAREN ESCOBAR
                                                                        Assistant United States Attorney
11

12                                                 ORDER
13          IT IS SO ORDERED that the terms of probation be modified to allow defendant Coral
14   Herrera, Sair Eduardo Maldonado and their newborn child to reside with Kiara Herrera.
15
     IT IS SO ORDERED.
16

17
        Dated:    September 23, 2016                              /s/
                                                            UNITED STATES MAGISTRATE JUDGE
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                          Stipulation and Proposed Order to Modify Conditions of Release
                                                        2
